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                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                     IN THE UNITED STATES DISTRICT COURT                 August 21, 2019
                      FOR THE SOUTHERN DISTRICT OF TEXAS                David J. Bradley, Clerk
                               HOUSTON DIVISION


LONNIE EVANICKY and SUSAN                §
EVANICKY,                                §
                                         §
                     Plaintiffs,         §
                                         §
v.                                       §
                                         §      CIVIL ACTION NO. H-18-3934
FEDERAL EMERGENCY MANAGEMENT             §
AGENCY and PETER T. GAYNOR,              §
Administrator of the Federal             §
Emergency Management Agency,             §
                                         §
                     Defendants.         §


                        MEMORANDUM OPINION AND ORDER


      Plaintiffs Lonnie and Susan Evanicky ("Plaintiffs") sued the
Federal Emergency Management Agency ("FEMA") and Peter T. Gaynor,
FEMA's      Acting   Administrator1     (collectively,   "Defendants")             for
breach of a flood insurance contract under the National Flood
Insurance Act of 1968 ("NFIA"),              42 U.S.C.   §§   4001,      et seq.
Plaintiffs allege that insurance proceeds are being wrongfully
withheld by Defendants. 2          Pending before the court is Defendants'
Motion to Dismiss (Docket Entry No. 25). For the reasons explained


      Plaintiffs' Original Complaint included claims against FEMA
      1

and William B. Long, FEMA's then-Acting Administrator. See Original
Complaint, Docket Entry No. 1. On March 8, 2019, Peter T. Gaynor
became Acting Administrator of FEMA, and pursuant to Rule 25(d) of
the Federal Rules of Civil Procedure, Acting Administrator Gaynor
was automatically substituted for former Administrator Long. See
Motion to Dismiss, Docket Entry No. 25, p. 1 n.1.
      2
          See Original Complaint, Docket Entry No. 1, p. 1.
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below, Defendants' Motion to Dismiss will be granted in part and
denied in part.


                   I.   Factual and Procedural Background

       This action involves a dispute between an insurer (Defendants)
and its insured (Plaintiffs) involving payment of claims for flood

damage caused by Hurricane Harvey.             FEMA operates the National
Flood Insurance         Program    ("NFIP")   under    which   Standard   Flood
Insurance Policies ("SFIPs") are issued. 3            At all times relevant to
this action Plaintiffs were policyholders of an SFIP administered
by FEMA that provided coverage for their residence located at 213
Maude Street, Wharton, Texas 77488. 4         Plaintiffs' SFIP provided for
$87,500 in coverage less a $5,000 deductible. 5           On August 30, 2017,
Plaintiffs' SFIP-insured residence sustained flood damages. 6                 On
September 1, 2017, FEMA received Plaintiffs' proof of loss, and on
September 22, 2017, FEMA paid Plaintiffs an advance payment of
$15,000. 7      On December 9, 2017, FEMA received the final report of
an independent adjuster, which recommended that Plaintiffs be paid


      See Memorandum in Support of Motion to Dismiss, Exhibit 1 to
       3

Motion to Dismiss, Docket Entry No. 25-1, p. 4.
       4
           See id.; Original Complaint, Docket Entry No. 1, p. 3          1111-
14.
      See Declaration of Aaron Truitt ("Truitt Declaration"),
       5

Exhibit A to Memorandum in Support of Motion to Dismiss, Docket
Entry No. 25-2, p. 2 1 6.
       6
           See id. at 2-3   1 7.


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an additional $34,651.66.                FEMA approved payment of that amount on

December 9, 2017. 8

       On August 24, 2018, Plaintiffs submitted another proof of loss
to FEMA for the August 30, 2017, flood damage (the "Supplemental
Proof of Loss") in the amount of $87,500 -- the policy limit. 9
FEMA has not allowed or disallowed Plaintiffs' Supplemental Proof
of Loss. 10            Plaintiffs filed this action on October 19, 2018,
alleging a claim for breach of contract for Defendants' failure to
issue payment on the Supplemental Proof of Loss. 11                       On May 8, 2019,
Defendants moved to dismiss for lack of subject matter jurisdiction
under Rule 12(b)(1), for failure to effect timely service under
Rule           12(b)(5),   and     for     failure     to    state    a     claim    under

Rule 12(b)(6). 12           Plaintiffs responded to Defendants'                Motion to

Dismiss on June 7, 2019. 13              Defendants did not file a reply.

                 II.   Defendants' Rule 12(b) (1) Motion to Dismiss

       Defendants          argue    that     the     court   lacks    subject       matter
jurisdiction over this action for two reasons.                       First, Defendants




     See Memorandum in Support of Motion to Dismiss, Exhibit 1 to
       9

Motion to Dismiss, Docket Entry No. 25-1, pp. 4-5.
     10See Truitt Declaration, Exhibit A to Memorandum in Support
of Motion to Dismiss, Docket Entry No. 25-2, p. 3 1 10.
       11      See Original Complaint, Docket Entry No. 1, p. 4.
       1
           2
               See Motion to Dismiss, Docket Entry No. 25, p. 1.
     13 See Memorandum of Law in Opposition to Defendants' Motion to
Dismiss ("Plaintiffs' Response"), Docket Entry No. 30.
                                             -3-
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argue that they are immune from               suit   on sovereign immunity

grounds. 14     Second, Defendants argue that this dispute is not ripe
for adjudication because FEMA has yet to disallow Plaintiffs'
Supplemental Proof of Loss. 15


A.    Standard of Review

      Federal Rule of Civil Procedure 12(b)(1) governs challenges to

the court's subject matter jurisdiction.               "A case is properly

dismissed for lack of subject matter jurisdiction when the court
lacks the statutory or constitutional power to adjudicate the
case."      Horne Builders Association of Mississippi, Inc. v. City of
Madison, Mississippi, 143 F.3d 1006, 1010 (5th Cir. 1998).              "Courts
may dismiss for lack of subject matter jurisdiction on any one of
three different bases:         (1) the complaint alone; (2) the complaint

supplemented by       undisputed       facts in the    record;    or (3) the
complaint      supplemented     by    undisputed   facts   plus   the   court's
resolution of disputed facts."          Clark v. Tarrant County, Texas, 798
F.2d 736, 741 (5th Cir. 1986).
      Rule 12(b)(1) challenges to subject matter jurisdiction come
in two forms:         "facial"       attacks and   "factual"   attacks.
Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir. 1981).                   A
facial attack consists of a Rule 12(b)(1) motion unaccompanied by


      See Memorandum in Support of Motion to Dismiss, Exhibit 1 to
      14

Motion to Dismiss, Docket Entry No. 25-1, pp. 7-11.
      15
           See id. at 11-21.
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supporting evidence that challenges the court's jurisdiction based
solely on the pleadings.          Id.     A factual attack challenges the
existence of subject matter jurisdiction in fact,                    and matters
outside the pleadings may be considered.                Id.   Because Defendants
have cited evidence outside the pleadings in support of their
Rule    12(b)(1)    motion   to    dismiss          (specifically,   the   Truitt
Declaration),      the motion is a factual attack,              and the court's
review is not limited to whether the complaint sufficiently alleges
jurisdiction.        Plaintiffs,     as       the     party   asserting    federal

jurisdiction, bear the burden of showing that the jurisdictional
requirements have been met.        Alabama-Coushatta Tribe of Texas v.
United States, 757 F.3d 484, 487 (5th Cir. 2014).
       "When a     Rule 12(b)(1) motion is filed in conjunction with
other Rule 12 motions, the court should consider the Rule 12(b)(1)
jurisdictional attack before addressing any attack on the merits."
Morris v. Livingston, 739 F.3d 740, 745 (5th Cir. 2014) (internal
quotation marks omitted).         If a complaint could be dismissed for
both lack of jurisdiction and for failure to state a claim, "'the
court should dismiss only on the jurisdictional ground under
[Rule] 12(b)(1), without reaching the question of failure to state
a claim under       [Rule]   12(b)(6).'"            Crenshaw-Legal v. City of
Abilene, Texas, 436 F. App'x 306, 308 (5th Cir. 2011).

B.     Analysis

       Suits against federal defendants (i.e., federal agencies and
federal officials acting in their official capacities) are suits
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against the United States.           "' [T]he United States, as sovereign,

"is immune from suit save as it consents to be sued                      and the

terms of its consent to be sued in any court define that court's
jurisdiction to entertain the suit."'"                Lehman v. Nakshian, 101
s. Ct. 2698, 2701 (1981) (quoting United States v. Testan, 96
S. Ct. 948, 953 (1976)).             "The basic rule of federal sovereign
immunity is that the United States cannot be sued at all without
the consent of Congress."            St. Tammany Parish, ex rel. Davis v.
Federal Emergency Management Agency, 556 F.3d 307, 316 (5th Cir.
2009)    (quoting Block v. North Dakota ex rel. Board of University
and     School   Lands,   103   S.    Ct.     1811,   1819   (1983));   see   also
Williamson v. United States Department of Agriculture, 815 F.2d
368, 373 (5th Cir. 1987) ("The doctrine of sovereign immunity is
inherent in our constitutional structure and .                      renders the
United States, it departments, and its employees in their official
capacities as agents of the United States immune from suit except
as the United States has consented to be sued."). "A waiver of the
Federal Government's sovereign immunity must be unequivocally
expressed in statutory text                   and will not be implied."       Lane
v. Pena,     116 s. Ct. 2092,         2096    (1996); see also Petterway v.
Veterans Administration Hospital, Houston. Texas, 495 F.2d 1223,
1225 n.3 (5th Cir. 1974) ("It is well settled .                   that a waiver
of sovereign immunity must be specific and explicit and cannot be
implied by construction of an ambiguous statute.").


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        Section 4072 of       the NFIA       contains a limited waiver of
sovereign immunity:

        In the event the program is carried out as provided in
        section 4071 of this title, the Administrator shall be
        authorized to adjust and make payment of any claims for
        proved and approved losses covered by flood insurance,
        and upon the disallowance by the Administrator of any
        such claim, or upon the refusal of the claimant to accept
        the amount allowed upon any such claim, the claimant,
        within one year after the date of mailing of notice of
        disallowance or partial disallowance by the Administrator,
        may institute an action against the Administrator on such
        claim in the United States district court for the
        district in which the insured property or the major part
        thereof shall have been situated, and original exclusive
        jurisdiction is hereby conferred upon such court to hear
        and determine such action without regard to the amount in
        controversy.
42 U.S.C.     §   4072 (emphasis added); In re Estate of Lee, 812 F.2d
253,     256 (5th Cir. 1987) (recognizing that 42 U.S.C.                §   4072
contains "a limited waiver of sovereign immunity that permits a
claimant to sue the Director of FEMA in federal district court").
The "Administrator" referred to in             §   4072 is identified in 42
u.s.c. § 40ll(a) as the Administrator of FEMA.
        Section 4072 waives sovereign immunity for claims against
FEMA's Administrator only when (1) FEMA's Administrator disallows
a party's flood insurance claim or (2) a party refuses to accept
the amount FEMA's Administrator has allowed.             See Downey v. State
Farm Fire & Casualty Co., 276 F.3d 243, 344-45 (7th Cir. 2001)
(stating that       §   4072 waives sovereign immunity "only when the
Director has disallowed a claim").                 Section 4072's statute of
limitations requires claimants to file suit within one year from
the time notice of disallowance is mailed.             The statute explicitly

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contemplates that the claimant will receive written notice that his

or her claim has been disallowed in whole or in part before filing
suit against FEMA's Administrator in a federal district court.
        Plaintiffs       allege    that     the    court    has jurisdiction          over
Defendants pursuant to § 4072. 16                 Defendants argue that the court

lacks subject matter jurisdiction because FEMA's Administrator has
not disallowed Plaintiffs' Supplemental Proof of Loss, rendering
the    waiver       of   sovereign    immunity        in    §       4072   inapplicable. 17
Plaintiffs disagree,            arguing that while FEMA has not mailed a

written disallowance of Plaintiffs' Supplemental Proof of Loss,
FEMA's failure to timely allow or disallow the Supplemental Proof
of Loss serves as a disallowance. 18
       Plaintiffs argue that under the terms of their SFIP, "FEMA had
sixty        days   to   make     payment    or     issue       a    denial   of   [their]
supplemental proof of loss. " 19            Plaintiffs filed this action fifty­
six days after submitting their Supplemental Proof of Loss to
FEMA. 20       By Plaintiffs' own argument, FEMA still had four days to



        16
             See Original Complaint, Docket Entry No. 1, p. 1.
      See Memorandum in Support of Motion to Dismiss, Exhibit 1 to
        17

Motion to Dismiss, Docket Entry No. 25-1, pp. 9-11; see Truitt
Declaration, Exhibit A to Memorandum in Support of Motion to
Dismiss, Docket Entry No. 25-2, p. 3 1 10.
       18    See Plaintiffs' Response, Docket Entry No. 30, p. 5.
        19
             See Plaintiffs' Response, Docket Entry No. 30, p. 6.
        20
             See id. at 7.
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review Plaintiffs' Supplemental Proof of Loss when Plaintiffs filed
this action. Defendants argue that FEMA cannot adjust Plaintiffs'
Supplemental Proof of Loss while this litigation is pending.2 1
     Plaintiffs express concern that if the court finds that
Defendants are immune from suit,         Defendants could indefinitely

refuse to disallow a pending claim. This argument is significantly
undercut by the fact that FEMA still had time to review Plaintiffs'
Supplemental Proof of Loss under the terms of Plaintiffs' SFIP when
this action was filed.    If FEMA timely adjusts the claim, the need
for this action may be obviated. Moreover, the court's ruling does
not prevent Plaintiffs from re-filing this action against FEMA's
Administrator22 if (1) FEMA's Administrator disallows Plaintiffs'



     21See Memorandum in Support of Motion to Dismiss, Exhibit 1 to
Motion to Dismiss, Docket Entry No. 25-1, p. 20; Truitt
Declaration, Exhibit A to Memorandum in Support of Motion to
Dismiss, Docket Entry No. 25-2, p. 3 1 11 (noting that "FEMA placed
a hold on [Plaintiffs'] file due to the filing of the Complaint").
     22Asdiscussed in detail above, absent a waiver of sovereign
immunity, federal agencies are immune from suit.      F.D. I.C. v.
Meyer, 114 s. Ct. 996, 1000 (1994) ( "Absent a waiver, sovereign
immunity shields the Federal Government and its agencies from
suit."). The NFIA's wavier of sovereign immunity allows claimants
to bring suits against FEMA's Administrator upon disallowance of
all or part of their claims. 42 U.S.C. § 4072. Section 4072 does
not contain a waiver of sovereign immunity that would allow
claimants to bring claims directly against FEMA. Plaintiffs do not
present any argument in their Response as to why FEMA is a proper
party in this action. Defendants' 12(b)(6) motion seeking FEMA's
dismissal from this action is mooted by the court's granting of
Defendants' 12(b)(1) motion. If Plaintiffs re-file this action
against FEMA, they must be prepared to show that their claim
against FEMA is not barred by sovereign immunity.
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Supplemental Proof of Loss23 or (2) Plaintiffs refuse to accept the
amount FEMA's Administrator allows on their claim.
        Plaintiffs bear the burden of showing that the court has
subject matter jurisdiction over this action.                      For the reasons
explained above,         Plaintiffs have failed to meet that burden.

Because the suit is barred by sovereign immunity, the court need
not address Defendants' ripeness arguments.                  Plaintiffs' Original

Complaint will be dismissed without prejudice.                  If FEMA disallows
Plaintiffs' Supplemental Proof of Loss, Plaintiffs may invoke the
court's jurisdiction under § 4072.

                              III.    Service of Process

        Defendants argue that this action must be dismissed because
Plaintiffs have failed to complete proper service as required by
the Federal Rules of Civil Procedure. 24                     Plaintiffs disagree,
arguing that they served the necessary parties after they were
alerted to defects in service by Defendants' counsel. 25                 While the
court        will   dismiss    this   action    for   lack    of   subject   matter
jurisdiction (rendering Defendants' 12{b) (5) motion moot), issues


      The court need not decide whether FEMA's failure to timely
        23

disallow Plaintiffs' claim within the 60-day window provided by
Plaintiffs' SFIP constitutes a "disallowance" within the meaning of
§ 4072.   This issue is not before the court because Plaintiffs
filed this action before the 60-day window expired.
      See Memorandum in Support of Motion to Dismiss, Exhibit 1 to
        24

Motion to Dismiss, Docket Entry No. 25-1, pp. 21-24.
        25
             See Plaintiffs' Response, Docket Entry No. 30, pp. 9-10.
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regarding proper service of process warrant discussion in the event

that FEMA disallows Plaintiffs' claim and Plaintiffs elect to re­
file this action.
     Federal Rule of Civil Procedure 4(i) governs the proper method
of service on the United States, its agencies, and its employees:

     (1) United States.     To serve the United States, a party
     must:
          (A)(i) deliver a copy of the summons and of
          the complaint to the United States attorney
          for the district where the action is
          brought--or to an assistant United States
          attorney or clerical employee whom the United
          States attorney designates in a writing filed
          with the court clerk--or
             (ii) send a copy of each by registered or
          certified mail to the civil-process clerk at
          the United States attorney's office;
          (B) send a copy of each by registered or
          certified mail to the Attorney General of the
          United States at Washington, D.C.; and
          (C) if the action challenges an order of a
          nonparty   agency    or   officer    of   the
          United States, send a copy of each by
          registered or certified mail to the agency or
          officer.

    (2) Agency; Corporation; Officer or Employee Sued in an
    Official Capacity. To serve a United States agency or
    corporation, or a United States officer or employee sued
    only in an official capacity, a party must serve the
    United States and also send a copy of the summons and of
    the complaint by registered or certified mail to the
    agency, corporation, officer, or employee.
Fed. R. Civ. P. 4(i). Under this rule both service on the Attorney
General and the United States Attorney for the district in which
the action is filed are required.         See Peters v. United States, 9
F.3d 344, 345 (5th Cir. 1993).

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     While Plaintiffs' initial attempts at service failed to

satisfy Rule 4(i), it appears that all defects in service have
since been cured and the proper parties notified. 26         If Plaintiffs
re-file this action in this court, they must timely comply with
Rule 4(i)'s service requirements, which include service on FEMA's

Administrator, the United States Attorney for the Southern District

of Texas, and the United States Attorney General.

                            IV.   Conclusion

     For the reasons explained above,          the court lacks subject
matter    jurisdiction   over   the   claims   in   Plaintiffs'    Original
Complaint because Plaintiffs' claims are barred by sovereign
immunity.    Defendants' Motion to Dismiss (Docket Entry No. 25) is

therefore GRANTED IN PART and DENIED IN PART.          Defendants' Motion

to Dismiss pursuant to Rule 12(b)(1) is GRANTED.               Defendants'

Motion to Dismiss pursuant to Rule 12(b)(5) and Rule 12{b)(6) is

DENIED AS MOOT.    This action will be dismissed without prejudice.

     SIGNED at Houston, Texas, on this 21st day of August, 2019.




                                  SENIOR UNITED STATES DISTRICT JUDGE

      See Return of Service, Docket Entry No. 27 (proof of service
     26

of William B. Long, FEMA's former Acting Administrator); Return of
Service, Docket Entry No. 26 (proof of service of the Attorney
General of the United States); Return of Service, Docket Entry
No. 24 (proof of service of the United States Attorney for the
Southern District of Texas).
                                   -12-
